     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.1 Page 1 of 10


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     Attorneys for Plaintiff: JAMES RUTHERFORD
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10
                             UNITED STATES DISTRICT COURT
11
                            SOUTHERN DISTRICT OF CALIFORNIA
12

13
     JAMES RUTHERFORD, an                  Case No. '18CV2022 AJB WVG
14   individual,                           Complaint For Damages And
15                                         Injunctive Relief For:
               Plaintiff,
16
     v.                                     1. VIOLATIONS OF THE
17                                             AMERICANS WITH DISABILITIES
18                                             ACT OF 1990, 42 U.S.C. §12181 et
     TOM'S BURGERS FAMILY                      seq.
19   RESTAURANT, a business of
20   unknown form; GEORGIA                  2. VIOLATIONS OF THE UNRUH
     VALASKANTJIS AND                          CIVIL RIGHTS ACT, CALIFORNIA
21   NIKIFOROS VALASKANTJIS,                   CIVIL CODE § 51 et seq.
22   individually and as trustees under
     DECLARATION OF TRUST
23   DATED MAY 10, 2990 F/B/O
24   GEORGIA VALASKANTJIS AND
     NIKIFOROS VALASKANTJIS,
25   TRUSTORS; and DOES 1-10,
26   inclusive,
27
                    Defendants.
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                                        COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.2 Page 2 of 10


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 2         Plaintiff, JAMES RUTHERFORD (“Plaintiff”), complains of Defendants
 3   GEORGIA VALASKANTJIS AND NIKIFOROS VALASKANTJIS, individually
 4   and as trustees under DECLARATION OF TRUST DATED MAY 10, 2990 F/B/O
 5   GEORGIA VALASKANTJIS AND NIKIFOROS VALASKANTJIS, TRUSTORS;
 6   and DOES 1-10 (“Defendants”) and alleges as follows:
 7                                          PARTIES:
 8         1.     Plaintiff is an adult California resident. Plaintiff is substantially limited
 9
     in performing one or more major life activities, including but not limited to:
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     walking, standing, ambulating, sitting, in addition to twisting, turning, and grasping
11

12   objects. As a result of these disabilities, Plaintiff relies upon mobility devices,

13   including at times a wheelchair, to ambulate. With such disabilities, Plaintiff
14   qualifies as a member of a protected class under the Americans with Disabilities Act
15
     (“ADA”), 42 U.S.C. §12102(2) and the regulations implementing the ADA set forth
16
     at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendant’s facility
17

18   and prior to instituting this action, Plaintiff suffered from a “qualified disability”

19   under the ADA, including those set forth in this paragraph. Plaintiff is also the
20   holder of a Disabled Person Parking Placard.
21         2.     Plaintiff brings this action acting as a “private attorney general” as
22   permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
23   enforcement of the ADA without the American tax payer(s) bearing the financial tax
24   burden for such action.
25         3.     Defendant GEORGIA VALASKANTJIS AND NIKIFOROS
26   VALASKANTJIS, individually and as trustees under DECLARATION OF TRUST
27   DATED MAY 10, 2990 F/B/O GEORGIA VALASKANTJIS AND NIKIFOROS
28   VALASKANTJIS, TRUSTORS, owned the property located at 1205 W San Marcos
                                                 2
                                            COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.3 Page 3 of 10


 1   Blvd, San Marcos, CA 92078 (“Property”) in June, 2018.
 2         4.     Defendant GEORGIA VALASKANTJIS AND NIKIFOROS
 3   VALASKANTJIS, individually and as trustees under DECLARATION OF TRUST
 4   DATED MAY 10, 2990 F/B/O GEORGIA VALASKANTJIS AND NIKIFOROS
 5   VALASKANTJIS, TRUSTORS, owns the Property currently.
 6         5.     TOM'S BURGERS FAMILY RESTAURANT, a business of unknown
 7   form, owned, operated and controlled the business of Tom's Burgers Family
 8   Restaurant (“Business”) in June, 2018.
 9         6.     TOM'S BURGERS FAMILY RESTAURANT, a business of unknown
10   form, owns, operates and controls the Business currently.
11         7.     Plaintiff does not know the true names of Defendants, their business
12   capacities, their ownership connection to the Property and Business, or their relative
13   responsibilities in causing the access violations herein complained of, and alleges a
14   joint venture and common enterprise by all such Defendants. Plaintiff is informed
15   and believes that each of the Defendants herein, including Does 1 through 10,
16   inclusive, is responsible in some capacity for the events herein alleged, or is a
17   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
18   when the true names, capacities, connections, and responsibilities of the Defendants
19   and Does 1 through 10, inclusive, are ascertained.
20                             JURISDICTION AND VENUE
21         8.     This Court has subject matter jurisdiction over this action pursuant
22   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
23   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
24         9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
25   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so
26   related to Plaintiff’s federal ADA claims in that they have the same nucleus of
27   operative facts and arising out of the same transactions, they form part of the same
28   case or controversy under Article III of the United States Constitution.
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                                           COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.4 Page 4 of 10


 1          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 2   Property which is the subject of this action is located in this district and because
 3   Plaintiff’s causes of action arose in this district.
 4                                FACTUAL ALLEGATIONS
 5          11.    Plaintiff went to the Business on or about June, 2018 to use the
 6   restroom.
 7          12.    The Business, including the Property, is a facility open to the public, a
 8   place of public accommodation, and a business establishment.
 9          13.    Parking spaces are some of the facilities, privileges and advantages
10   reserved by Defendants to persons patronizing the Business and Property.
11          14.    Unfortunately, although parking spaces were some of the facilities
12   reserved for patrons, there were barriers for persons with disabilities that cause the
13   named facilities to fail as to compliance with the Americans with Disability Act
14   Accessibility Guidelines (“ADAAG”) on or around June, 2018, or at any time
15   thereafter up to and including, the date of the filing of this complaint.
16          15.    Instead of having architectural barrier free facilities for patrons with
17   disabilities, Plaintiff experienced the following at the Business and Property: there is
18   no ADASAD compliant van accessible parking signage in violation of Section
19   502.6; a curb ramp at the accessible parking space projects into the access aisle in
20   violation of Section 406.5. Curb ramps and the flared sides of curb ramps shall be
21   located so that they do not project into vehicular traffic lanes, parking spaces, or
22   parking access aisles. Curb ramps at marked crossings shall be wholly contained
23   within the markings, excluding any flared sides; an accessible parking space with a
24   slope of 10.7% where 502.4 prohibits a slope over 2%; a ramp with an incline in
25   excess of 8.3% which is a violation of Section 405.2; flush controls that are not
26   located on the open side of the water closet in violation of Section 604.6; and
27   outdoor dining surfaces and standing spaces with less than 5% of the seating spaces
28   compliant with Section 902 and available for the consumption of food or drink in
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                                             COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.5 Page 5 of 10


 1   violation of Section 226.1.
 2          16.   Subject to the reservation of rights to assert further violations of law
 3   after a site inspection found infra, Plaintiff asserts there are additional ADA
 4   violations which affect him personally.
 5          17.   Plaintiff is informed and believes and thereon alleges that, currently,
 6   there are no compliant, accessible Business facilities designed, reserved and
 7   available to persons with disabilities at the Business in addition to that alleged supra.
 8          18.   Plaintiff is informed and believes and thereon alleges that Defendants
 9   had no policy or plan in place to make sure that the parking spaces were compliant
10   for persons with disabilities and remained compliant prior to June, 2018.
11          19.   Plaintiff is informed and believes and thereon alleges Defendants have
12   no policy or plan in place to make sure that the complaints of violations alleged
13   above are available to persons with disabilities and remain compliant currently.
14          20.   Plaintiff personally encountered the above alleged barriers when
15   attempting to access the Business and Property.          These inaccessible conditions
16   denied the Plaintiff full and equal access and caused him difficulty, humiliation,
17   frustration and upset.
18          21.   As an individual with a mobility disability who at times is dependent
19   upon a mobility device, Plaintiff has a keen interest in whether public
20   accommodations have architectural barriers that impede full accessibility to those
21   accommodations by individuals with mobility impairments.
22          22.   Plaintiff is being deterred from patronizing the Business and its
23   accommodations on particular occasions, but intends to return to the Business for the
24   dual purpose of availing himself of the goods and services offered to the public and
25   to ensure that the Business ceases evading its responsibilities under federal and state
26   law.
27          23.   As a result of his difficulty, humiliation, and frustration because of the
28   inaccessible condition of the facilities of the Business, Plaintiff did not fully access
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                                           COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.6 Page 6 of 10


 1   the Business or Property. However, Plaintiff would like to return to the location
 2   given its close proximity to an area he frequents from time to time.
 3          24.      The defendants have failed to maintain in working and useable
 4   conditions those features required to provide ready access to persons with
 5   disabilities.
 6          25.      The violations identified above are easily removed without much
 7   difficulty or expense. They are the types of barriers identified by the Department of
 8   Justice as presumably readily achievable to remove and, in fact, these barriers are
 9   readily achievable to remove. Moreover, there are numerous alternative
10   accommodations that could be made to provide a greater level of access if complete
11   removal were not achievable.
12          26.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
13   alleges, on information and belief, that there are other violations and barriers in the
14   site that relate to his disabilities. Plaintiff will amend the complaint, to provide
15   proper notice regarding the scope of this lawsuit, once he conducts a site inspection.
16   However, please be on notice that Plaintiff seeks to have all barriers related to their
17   disabilities remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
18   that once a plaintiff encounters one barrier at a site, he can sue to have all barriers
19   that relate to his disability removed regardless of whether he personally encountered
20   them).
21          27.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
22   alleges, on information and belief, that the failure to remove these barriers was
23   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
24   defendants exercised control and dominion over the conditions at this location, and
25   therefore, (3) the lack of accessible facilities was not an accident because had the
26   defendants intended any other configuration, they had the means and ability to make
27   the change.
28          28.      Without injunctive relief, plaintiff will continue to be unable to fully
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                                              COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.7 Page 7 of 10


 1   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 2                               FIRST CAUSE OF ACTION
 3   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 4                                  42 U.S.C. § 12181 et seq.
 5         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
 9   privileges, advantages, accommodations, facilities, goods, and services of any place
10   of public accommodation are offered on a full and equal basis by anyone who owns,
11   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
12   Discrimination is defined, inter alia, as follows:
13                a.     A failure to make reasonable modifications in policies, practices,
14                       or procedures, when such modifications are necessary to afford
15                       goods, services, facilities, privileges, advantages, or
16                       accommodations to individuals with disabilities, unless the
17                       accommodation would work a fundamental alteration of those
18                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
19                b.     A failure to remove architectural barriers where such removal is
20                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
21                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
22                       Appendix "D".
23                c.     A failure to make alterations in such a manner that, to the
24                       maximum extent feasible, the altered portions of the facility are
25                       readily accessible to and usable by individuals with disabilities,
26                       including individuals who use wheelchairs, or to ensure that, to
27                       the maximum extent feasible, the path of travel to the altered area
28                       and the bathrooms, telephones, and drinking fountains serving
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                                            COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.8 Page 8 of 10


 1                       the area, are readily accessible to and usable by individuals with
 2                       disabilities. 42 U.S.C. § 12183(a)(2).
 3         31.    Any business that provides parking spaces must provide accessible
 4   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
 5   Standards, parking spaces and access aisles must be level with surface slopes not
 6   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
 7   Standards, access aisles shall be at the same level as the parking spaces they serve.
 8   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
 9   required to be nearly level in all directions to provide a surface for wheelchair
10   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Specifically, built
11   up curb ramps are not permitted to project into access aisles and parking spaces. Id.
12   No more than a 1:48 slope is permitted. Standards § 502.4.
13         32.    Here, the failure to ensure that accessible facilities were available and
14   ready to be used by Plaintiff is a violation of law.
15         33.    A public accommodation must maintain in operable working condition
16   those features of its facilities and equipment that are required to be readily accessible
17   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
18         34.    Given its location and options, Plaintiff will continue to desire to
19   patronize the Business but he has been and will continue to be discriminated against
20   due to lack of accessible facilities and, therefore, seek injunctive relief to remove the
21   barriers.
22                              SECOND CAUSE OF ACTION
23   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
24                                      CODE § 51 et seq.
25         35.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
26   above and each and every other paragraph in this Complaint necessary or helpful to
27   state this cause of action as though fully set forth herein.
28         36.    California Civil Code § 51 et seq. guarantees equal access for people
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                                            COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.9 Page 9 of 10


 1   with disabilities to the accommodations, advantages, facilities, privileges, and
 2   services of all business establishments of any kind whatsoever. Defendants are
 3   systematically violating the UCRA, Civil Code § 51 et seq.
 4         37.    Because Defendants violate Plaintiff’s rights under the ADA, they also
 5   violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
 6   52(a).) These violations are ongoing.
 7         38.    Defendants’ actions constitute intentional discrimination against
 8   Plaintiff on the basis of their individual disabilities, in violation of the UCRA, Civil
 9   Code § 51 et seq. Plaintiff is informed and believes and thereon alleges Defendants
10   have been previously put on actual notice that its premises are inaccessible to
11   Plaintiff as above alleged. Despite this knowledge, Defendants maintain the
12   Property and Business in an inaccessible form.
13                                          PRAYER
14   WHEREFORE, Plaintiff prays that this court award damages provide relief as
15   follows:
16         1.     A preliminary and permanent injunction enjoining Defendants from
17   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
18   51 et seq. with respect to its operation of the Business and Subject Property; Note:
19   Plaintiff is not invoking section 55 of the California Civil Code and is not
20   seeking injunctive relief under the Disable Persons Act at all.
21         2.     An award of actual damages and statutory damages of not less than
22   $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000 for
23   each time he visits an establishment that contains architectural barriers that deny the
24   Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco, Inc.
25   (2005) 431 F.Supp.2d 1088, 1091.)
26         3.     An additional award of $4,000.00 as deterrence damages for each
27   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
28   LEXIS 150740 (USDC Cal, E.D. 2016);
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                                           COMPLAINT
     Case 3:18-cv-02022-AJB-WVG Document 1 Filed 08/29/18 PageID.10 Page 10 of 10


 1         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 2   pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
 3                               DEMAND FOR JURY TRIAL
 4         Plaintiff hereby respectfully request a trial by jury on all appropriate issues
 5   raised in this Complaint.
 6

 7   Dated: August 28, 2018           MANNING LAW, APC
 8

 9                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
10                                       Michael J. Manning, Esq.
11                                       Craig G. Côté, Esq.
                                         Attorneys for Plaintiff
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